Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tims 8 Mile LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  19353 Vernier Road
                                  Harper Woods, MI 48225
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
Debtor    Tims 8 Mile LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




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Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
Debtor   Tims 8 Mile LLC                                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Tims 8 Mile LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 25, 2019
                                                  MM / DD / YYYY


                             X   /s/ Nicole Wilski                                                        Nicole Wilski
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Daniel J. Weiner                                                      Date October 25, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Daniel J. Weiner P32010
                                 Printed name

                                 Schafer and Weiner, PLLC
                                 Firm name

                                 40950 Woodward Ave., Ste. 100
                                 Bloomfield Hills, MI 48304
                                 Number, Street, City, State & ZIP Code


                                 Contact phone       (248) 540-3340              Email address      dweiner@schaferandweiner.com

                                 P32010 MI
                                 Bar number and State




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Debtor     Tims 8 Mile LLC                                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                   Chapter      11
                                                                                                                          Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Baby Buford Holdings LLC                                                Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims 12 Mile LLC                                                        Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims Compuware LLC                                                      Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims Evergreen LLC                                                      Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims Five-Mile LLC                                                      Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims Greenfield LLC                                                     Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known
Debtor     Tims Milner LLC                                                         Relationship to you               Affiliate
District   Eastern District of Michigan-Detroit       When                         Case number, if known




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Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 5
                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Tims 8 Mile LLC                                                                                           Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Nicole Wilski                                                                        100%
 1010 Lake Shore Rd.
 Grosse Pointe, MI 48236


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 25, 2019                                                       Signature /s/ Nicole Wilski
                                                                                            Nicole Wilski

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Tims 8 Mile LLC                                                                            Case No.
                                                                                  Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       October 25, 2019                                          /s/ Nicole Wilski
                                                                       Nicole Wilski/Member
                                                                       Signer/Title




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                      City of Harper Woods
                      Water & Sewer Dept.
                      19617 Harper Ave.
                      Harper Woods, MI 48225


                      Comcast
                      41112 Concept Dr.
                      Plymouth, MI 48170


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                      4237 North Atlantic Blvd.
                      Auburn Hills, MI 48326


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                      26661 Bunert Rd.
                      Warren, MI 48089


                      Maple Lane Pest Control
                      6020 Chicago Rd.
                      Warren, MI 48092


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                      Zarco Einhorn Salkowski & Brito, PA
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                      Miami, FL 33131


                      Securatech
                      30201 Orchard Lake Rd., Ste. 109
                      Farmington, MI 48334


                      SI Midwest
                      3057 Steeplechase
                      Highland, MI 48357



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                  Tim Donut U.S. Limited, Inc.
                  5505 Blue Lagoon Dr.
                  Miami, FL 33126


                  Tim Hortons USA , Inc.
                  Tim Donut U.S. Limited, Inc.
                  5505 Blue Lagoon Dr.
                  Miami, FL 33126


                  Tim Hortons USA, Inc.
                  5505 Blue Lagoon Dr.
                  Miami, FL 33126


                  US Foods
                  28001 Napier Rd.
                  Wixom, MI 48393


                  Wasch Raines, LLP
                  Crystal Corporate Center
                  2500 N. Military Trail, Ste. 100
                  Boca Raton, FL 33431




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